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10

11

12                                 UNITED STATES DISTRICT COURT
13                              NORTHERN DISTRICT OF CALIFORNIA
14

15
     YUTING CHEN,                                   Case No.: 21-cv-09393-YGR
16
                            Plaintiff,              STIPULATION RE SERVICE AND JOINT
17                                                  REQUEST TO CONTINUE CASE
            v.                                      MANAGEMENT CONFERENCE AND
18                                                  RELATED DEADLINES;
   ARIEL ABITTAN, ABRAHAM ABITTAN,                  [PROPOSED] ORDER
19 RACHEL ABITTAN, BRIAN ABITTAN,
   JACOB ABITTAN, ALYSSA ABITTAN,                   Judge:   Hon. Yvonne Gonzalez Rogers
20 ELIANA ABITTAN, ROY GRABER, TOVA
   GRABER, REALTIME NY LLC, a New York
21 Limited Liability Company, and DOES 1-20,
   inclusive.
22
                        Defendants.
23

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     STIPULATION RE SERVICE AND JOINT REQUEST TO
     CONTINUE CASE MANAGEMENT CONFERENCE                              CASE NO.: 21-CV-09393-YGR
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 1          Pursuant to Fed. R. Civ. P. 16 & 26(f) and Civil Local Rules 6-1, 6-2, 16-2, 16-9 and 16-10,

 2 Plaintiff Yuting Chen (“Plaintiff”) and Defendants Ariel Abittan, Abraham Abittan, Rachel Abittan,

 3 Brian Abittan, Jacob Abittan, Alyssa Abittan, Eliana Abittan, Roy Graber, Tova Graber, and

 4 Realtime NY LLC (collectively, “Defendants”) by and through their respective counsel, stipulate

 5 and request as follows:

 6                                                 RECITALS

 7          Plaintiff commenced this action on December 3, 2021.

 8          On December 7, 2021 the Court issued an Order Setting Initial Case Management

 9 Conference and ADR Deadlines [Dkt. 6].

10          On January 4, 2022, Plaintiff filed a Declination to Magistrate Judge Jurisdiction [Dkt. 8].

11          On January 10, 2022, the Court issued an Order Reassigning Case [Dkt. 10].

12          On January 11, 2022, the Court issued Clerk’s Notice Setting Case Management Conference

13 [Dkt. 11] setting a Case Management Conference for March 14, 2022 at 2:00 p.m., and ordering that

14 that a joint case management conference statement be filed by March 7, 2022.

15          Plaintiff asserts that Defendants Abraham Abittan, Rachel Abittan, Brian Abittan, Jacob

16 Abittan, Alyssa Abittan, Eliana Abittan, Roy Graber, and Tova Graber have all been served with the

17 summons and complaint. Plaintiff has yet to serve Defendants Ariel Abittan, Eliana Abittan, and

18 Realtime NY LLC.

19          On February 22, 2022, Constantine P. Economides, an attorney at the law firm Roche

20 Freedman LLP (“Roche Freedman”), informed counsel for Plaintiff, Hansen Law Firm, P.C.

21 (“HLF”) that Roche Freedman is representing all presently named Defendants in this action. Hansen

22 Decl. ¶ 3.

23          Plaintiff and Defendants (collectively, “the Parties”), through their counsel, subsequently

24 agreed that Roche Freedman would accept service of the Summons and Complaint on behalf of all

25 the unserved Defendants and, in exchange, all Defendants would have a uniform response deadline

26 of April 25, 2022. Hansen Decl. ¶ 4.
27          The agreed-upon uniform response deadline of April 25, 2022 for all the Defendants is after

28 the date scheduled for the Case Management Conference. The Parties therefore agreed (1) to

     STIPULATION RE SERVICE AND JOINT REQUEST TO
     CONTINUE CASE MANAGEMENT CONFERENCE            –1–                       CASE NO.: 21-CV-09393-YGR
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 1 continue the Case Management Conference from March 14, 2022 at 2:00 pm to May 23, 2022 at

 2 2:00 p.m., and (2) that the joint case management conference statement would be due by May 16,

 3 2022. Hansen Decl. ¶ 5.

 4          Due to the current case status, the Parties have not yet met and conferred regarding initial

 5 disclosures, early settlement, ADR process selection, or a discovery plan. Therefore, the Parties

 6 further agreed to a May 2, 2022 deadline to hold the Rule 26(f) conference and to meet and confer

 7 regarding initial disclosures, early settlement, ADR process selection, and a discovery plan. Hansen

 8 Decl. ¶ 6.

 9          The Parties request that the Court enter an order confirming the terms of the stipulation

10 between the Parties. The Parties assert that the instant request is made in accordance with Civil L.R.

11 6-1(b), 6-2(a)(1), 16-2(d) and 7-12. Counsel for the Parties believe that a uniform response deadline

12 of April 25, 2022 for all the Defendants, a continuance of the Initial Case Management Conference,

13 and a continuance of the other deadlines addressed above is an efficient use of judicial and party

14 resources. Hansen Decl. ¶ 7.

15          Pursuant to Civil L.R. 6-2(a)(2), there have been no previous time modifications in the case

16 (except as described herein).

17          Further, pursuant to Civil L.R. 6-2(a)(3), Plaintiff and Defendants do not believe the

18 requested time modification would have a prejudicial effect on the schedule for the case. Trial has

19 not been set in the case, and no discovery has been served in this action. There has not yet been a

20 Case Management Conference. Hansen Decl. ¶ 8.

21                                                 STIPULATION

22          The Parties therefore stipulate as follows:

23          1.      Roche Freedman shall accept service of the Summons and Complaint on behalf of all

24 the unserved Defendants. Service upon those Defendants shall be deemed complete upon the filing

25 of this Stipulation (provided that the requested order is entered by the Court). Other than arguments

26 and defenses as to the sufficiency of service, Defendants preserve all, and do not waive any,
27 arguments and/or defenses.

28

     STIPULATION RE SERVICE AND JOINT REQUEST TO
     CONTINUE CASE MANAGEMENT CONFERENCE             –2–                      CASE NO.: 21-CV-09393-YGR
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 1          2.      The deadline for all presently named Defendants to respond to the Complaint shall be

 2 April 25, 2022.

 3          3.      The March 14, 2022 Case Management Conference shall be continued to May 23,

 4 2022 at 2:00 p.m.; the joint case management conference statement shall be due by May 16, 2022.

 5          4.      The Parties shall hold the Rule 26(f) conference and meet and confer regarding initial

 6 disclosures, early settlement, ADR process selection, and discovery plan by May 2, 2022.

 7

 8    DATED: February 28, 2022                     HANSEN LAW FIRM, P.C.
 9

10                                                 By:       /s/ Craig A. Hansen
                                                         Craig A. Hansen
11

12    DATED: February 28, 2022                     ROCHE FREEDMAN PLLC

13
                                                   By:       /s/ Constantine P. Economides
14                                                       Constantine P. Economides
15

16          I hereby attest that I obtained consent in the filing of this document from each of the other

17 signatories on this e-filed document.

18

19    DATED: February 28, 2022                     HANSEN LAW FIRM, P.C.
20

21                                                 By:       /s/ Craig A. Hansen
                                                         Craig A. Hansen
22

23                                          [PROPOSED] ORDER

24          Pursuant to the above stipulation, and good cause appearing, IT IS SO ORDERED.

25

26    DATED: March 2, 2022
                                                         Hon. Yvonne Gonzalez Rogers
27                                                       United States District Judge

28

     STIPULATION RE SERVICE AND JOINT REQUEST TO
     CONTINUE CASE MANAGEMENT CONFERENCE            –3–                       CASE NO.: 21-CV-09393-YGR
